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                 EXHIBIT A
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                                             STATE OF MICHIGAN

                            IN THE CIRCUIT COURT FOR THE COUNTY OF KENT

     LAURA EWING-LOFTON,

               Plaintiff,

     -vs-                                                                         CASE NO. 20-O^/^-NO
                                                                                  HON.

     BLOOMIN BRANDS, INC. D/B/A
     OUTBACK STEAKHOUSE

               Defendant.

      CHRISTOPHER TRAINOR & ASSOCIATES
      CHRISTOPHER J. TRAINOR (P42449)
      THOMAS F. NORTON (P45525)
      Attorneys for Plaintiff
      9750 Highland Road
      White Lake, MI 48386
      (248) 886-8650____________________
                                     There is no other current or pending civil action arising
                                      from the same transaction or occurrence which is the
                                                  subject matter of this lawsuit

                                    COMPLAINT AND JURY DEMAND

                NOW COMES the Plaintiff, LAURA EWING-LOFTON, by and through her attorneys,

     CHRISTOPHER TRAINOR & ASSOCIATES, and for her Complaint, states as follows:

                                          GENERAL ALLEGATIONS

     1. Plaintiff, LAURA EWING-LOFTON, (hereinafter known as Plaintiff) is a resident of the City

            of Grand Rapids, County of Kent, State of Michigan.
                            \
     2. Defendant Bk/omin Brands, Inc. d/b/a Outback Steakhouse is upon information and belief a

            foreign corporation doing business in the City of Kentwood, County of Kent, State of

            Michigan.

     3. Defendant operates a restaurant located at 3650 28th Street SE., Kentwood, MI 49512
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                        1
      4. That the incident which is the subject of this action occurred on the Defendant’s premises,

         3650 28th Street SE, Kentwood, Michigan.

      5. On March \7, 2019, the Plaintiff was lawfully on the Defendants’ restaurant as a

         guest/customer, and walking behind defendant’s employee who was leading Plaintiff to her

         table when Plaintiff suddenly slipped on liquid and fell heavily to the floor causing her to

         sustain grievous injuries.

      6. That Plaintiff could not see any substance on the floor because the Defendant’s employee

         blocked the Plaintiffs view and therefore the hazard which lay in Plaintiffs path was not open

         and obvious to Plaintiff.

      7. That Defendant and its employees owed Plaintiff a duty to of care to warn Plaintiff of the liquid

         on the floor and otherwise act in reasonable safe manner and watch out for her so as to not

         expose Plaintiff to an unreasonable risk of harm and injury.

      8. That notwithstanding the above-mentioned duties and obligations, Defendant breached these

          duties owed to Plaintiff and was negligent in the following ways, including but not limited to:

          a. failing to warn Plaintiff of the liquid on the floor;

          b. Failing to comply with health and safety laws of the State of Michigan, County of Kent

              and City of Kentwood;

          c. Failing to take action to repair and/or remedy the hazardous condition which caused injury

              to the Plaintiff;

          d. Creating aa unsafe and hazardous condition which caused serious injury to the Plaintiff;

          e. Failing to remove the liquid from the floor and thereby remove a hazardous condition

              which was in Plaintiffs path

          f. Failing to act with due diligence and carryout work activities in a reasonably safe manner.
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9. As a direct and proximate cause of the Defendant’s negligence including affirmative acts and

   omissions, the! Plaintiff suffered serious injuries and damages including but not limited to:

       a. right hip and right shoulder injuires.

   WHEREFORE, Plaintiff demands judgment against Defendant(s) to compensate her for her

injuries and damages in an amount in excess of $25,000.00 (twenty-five thousand dollars), plus

interest, costs and attorney’s fees.



                                             Respectfully submitted,
                                             CHRISTOPHERTRAlNOR &                       TES



                                              CHRISfOPHE^<r^p<lbR^42 449)
                                              Thomas FJ^ofton (P45525)i^^/
                                              Attomey^for Plaintiff
                                              9750 Highland Road
                                              White Lake, MI 48386
                                              (248) 886-8650
Dated: October 26, 2020
TFN/law
      V,*
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                                            STATE OF MICHIGAN

                                IN THE CIRCUIT COURT FOR THE COUNTY OF KENT

            LAURA EWING-LOFTON,

                   Plaintiff,

            -vs-                                                CASE NO. 20- 0//j£-NO
                                                                HON.

            BLOOMIN BRANDS, INC. D/B/A
            OUTBACK STEAKHOUSE

                   Defendant.

             CHRISTOPHER TRAINOR & ASSOCIATES
             CHRISTOPHER J. TRAINOR (P42449)
             THOMAS F. NORTON (P45525)
             Attorneys for Plaintiff
             9750 Highland Road
             White Lake, MI 48386
             (248) 886-8650 _______________________

                                         DEMAND FOR TRIAL BY JURY

                   NOW COMES Plaintiff, LAURA EWING-LOFTON by and through her attorneys,

            CHRISTOPHER TRAINOR & ASSOCIATES, and hereby makes a Demand for Trial by Jury in the

            above-entitled cause.

                                                   Respectfully submitted,
                                                   CHRISTOP             rINOR           ES



                                                   CHR^TOTHER l/TRAfNO|r(P42449)
                                                   THCfMAlfF. NORTON (P45525)
                                                   Attorney for Plaintiff
                                                   9750 Highland Road
                                                   White Lake, MI 48386
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            Dated: October 26,2020
            TFN/law
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